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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION

DARREN FINDLING, Personal
Representative of the Estate of Eli Oles,
Deceased

                       Plaintiff,
vs.                                                  Case No. 1:21-cv-00145
                                                     Hon. Janet T. Neff
United States of America,
Lakeland Hospitals at Niles and St. Joseph, Inc.,
d/b/a Lakeland Hospital Niles
Kenneth W. Kaufmann, II MD
Karen D. Zienert, MD
Kayla Lowery, RN
Nancy Redman, RN
Melissa Smith, RN

                       Defendants
_________________________________________________________________________/
 MARC LIPTON (P43877)                   KENNETH DAWSON SEALE (P83259)
 JOEL SANFIELD (P42968)                 SMITH HAUGHEY RICE & ROEGGE
 STEFFANI CHOCRON (P45335)              100 Monroe Center NW
 LIPTON LAW CENTER, P.C.                Grand Rapids, MI 49503-2802
 Attorneys for Plaintiff                (616) 774-8000/Fax 616-774-2461
 18930 W. Ten Mile Road                 Attorney for Defendants Lakeland Hospitals
 Southfield, Michigan 48075             At Niles and St. Joseph, inc., Kayla Lowery,
 (248) 557-1688                         Nancy Redman, Melissa Smith and Karen
 marc@liptonlaw.com                     D. Zienert
 joel@liptonlaw.com                     kseale@shrr.com
                                        kgaskin@shrr.com
 Mark Fatum (P38292)
 RHOADES MCKEE                          JEANNE LONG (P71470)
 Attorney for Dr. Kaufmann              ASSISTANT UNITED STATES
 55 Campau Avenue NW, #300              ATTORNEY
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_____________________________________________________________________
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 PROPOSED ORDER APPROVING SETTLEMENT WITH DEFENDANT USA ONLY,
  FOR REIMBURSEMENT OF COSTS AND PAYMENT OF ATTORNEY FEES AND
            FOR APPROVAL OF DISTRIBUTION OF PROCEEDS

        IT IS HEREBY ORDERED that the proposed Wrongful Death Settlement of $20,000.00

(Twenty Thousand Dollars) between Plaintiff, The Estate of Eli Oles and the Defendant USA,

only, is hereby approved;

        IT IS FURTHER ORDERED that DARREN FINDLING, Personal Representative of the

Estate of Eli Oles, Deceased, is hereby authorized and empowered to sign any and all necessary

documents to effectuate said settlement, including releases, drafts, checks, etc.

        IT IS FURTHER ORDERED that the attorneys costs ($515.31) and attorney fees

($4,871.17) are hereby approved as reasonable and necessary for this cause and that said costs may

be immediately disbursed;

        IT IS FURTHER ORDERED that following the payment of costs and attorney fees as

outlined above, the distribution of the net settlement proceeds pursuant to MCL 600.2922,

($14,613.52), shall be evenly divided between Eli Oles parents, Cheyenne Bennet and Sidney

Oles.

        IT IS FURTHER ORDERED that this approved settlement is full and final only to

Defendant USA. This action remains pending against Lakeland Hospitals at Niles and St.

Joseph, Inc., d/b/a Lakeland Hospitals Niles, Kenneth Kaufmann, II, MD, Karen Zienert,

MD Kayla Lowery, RN, Nancy Redmond, RN, Melissa Smith RN.

        This is not a final order and does not dismiss this action.



                                                  CIRCUIT COURT JUDGE
